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 6
 7        IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
 8                                              CALIFORNIA
 9
10   THE UNITED STATES OF AMERICA,                ) CASE: 2:13-cr-00304
                                                  )             and related to
11                                                )             2:07-cr-00348
12                                                )
                   Plaintiff                      ) STIPULATION AND ORDER
13                                                )
     v.                                           ) DATE: June 26, 20014
14                                                ) TIME: 9 a.m.
15   Darron Reed                                  ) DEPT: 7
                                                  )
16                 Defendant                      )
     ______                                       )
17
18
           Plaintiff United States of America, by and through its counsel of record, and
19
20   defendant, by and through defendant’s counsel of record, hereby stipulate as follows:

21         1. By previous order, this matter was set for status on June 26, 20014. It is noted
22
           that the matter consists of two related cases, including a petition alleging a
23
           violation of the terms of supervised release in case CR S 07-348 MCE.
24
25         2. By this stipulation, defendant now moves to continue the status conference until
26
           September 4, 2014, and to exclude time between June 26, 20014, and September 4,
27
           2014, under Local Code T4, in case CR S 13-304 MCE.
28

          1 STIPULATION REGARDING EXCLUDABLE TIME
               PERIODS UNDER SPEEDY TRIAL ACT
       Case 2:07-cr-00348-MCE Document 124 Filed 08/11/14 Page 2 of 3



 1    3. The parties agree and stipulate, and request that the Court find the following:

 2           a) The government has represented that the discovery associated with this
 3
             case is primarily physical evidence, seized from the defendant’s residence,
 4
             which has been reviewed by his counsel.
 5
 6           b) The Government has provided a plea agreement on June 5, 2014.
 7
             Counsel for defendant desires additional time to conduct legal research
 8
             regarding the pending charges and to fully advise defendant of benefits and
 9
10           consequences of said plea agreement.
11           c) Counsel for defendant believes that failure to grant the above-requested
12
             continuance would deny him the reasonable time necessary for effective
13
14           preparation, taking into account the exercise of due diligence.
15           d) The government does not object to the continuance.
16
             e) Based on the above-stated findings, the ends of justice served by
17
18           continuing the case as requested outweigh the interest of the public and the

19           defendant in a trial within the original date prescribed by the Speedy Trial
20
             Act.
21
22           f) For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

23           § 3161, et seq., within which trial must commence, the time period of June
24
             26 2014 to September 4, 2014 inclusive, is deemed excludable in case CR S
25
26           13-304 MCE and related case 2:07-cr-00348 and pursuant to 18 U.S.C.§

27           3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance
28
             granted by the Court
     2 STIPULATION REGARDING EXCLUDABLE TIME
        PERIODS UNDER SPEEDY TRIAL ACT
             Case 2:07-cr-00348-MCE Document 124 Filed 08/11/14 Page 3 of 3



 1                 at defendant’s request on the basis of the Court’s finding that the ends of

 2                 justice served by taking such action outweigh the best interest of the public
 3
                   and the defendant in a speedy trial.
 4
            4. Nothing in this stipulation and order shall preclude a finding that other
 5
 6          provisions of the Speedy Trial Act dictate that additional time periods are
 7
            excludable from the period within which a trial must commence.
 8
     IT IS SO STIPULATED.
 9
     Dated: June 23, 2014                 BENJAMIN B. WAGNER United States Attorney
10
11                                             /s/ PHILIP A. FERRARI

12                                              PHILIP A. FERRARI
13                                              Assistant United States Attorney
14
15
     Dated: June 23, 2014                      /s/ JASON LAWLEY
16
                                               JASON LAWLEY
17
                                               Counsel for Defendant
18
19                                             ORDER

20          IT IS SO ORDERED.
21   Dated: August 9, 2014
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23
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25
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27
28

           3 STIPULATION REGARDING EXCLUDABLE TIME
              PERIODS UNDER SPEEDY TRIAL ACT
